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                         UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


IN RE:                                                        :      Chapter 15
                                                              :
GEDEN HOLDINGS, LTD.                                          :      No. 25-90138
                                                              :
                               Debtor.                        :


               ECLIPSE LIQUIDITY INC.’S WITNESS AND EXHIBIT LIST

        Eclipse Liquidity Inc (“Eclipse”) hereby submits the following Witness and Exhibit List

with respect to the hearing scheduled on June 4, 2025 at 11:00 a.m. (CT), in the above-captioned

bankruptcy case, pending before the Hon. Alfredo R. Perez, United States Bankruptcy Judge,

Courtroom 400, 515 Rusk, Houston, Texas 77002.

                                          WITNESS LIST

        Eclipse may call the following witnesses:

     1. Dr. Reuben Balzan, Liquidator of Geden Holdings, Ltd.

     2. Any witness listed, offered, or called by any other party.

                                          EXHIBIT LIST


 EXHIBIT            DESCRIPTION             OFFERED     OBJECTION     ADMITTED      DISPOSITION
                                                                                       AFTER
                                                                                     HEARING
 A           Invoice from Stealth
             Maritime Corporation SA
             to Avor Navigation Ltd. in
             Malta
 B           Geden Holdings’ 2014
             Consolidated Financial
             Statements


                                                      Respectfully submitted,



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                                            By:     GAITAS & CHALOS, P.C.

                                                    /s/Jonathan M. Chalos
                                                    Jonathan M. Chalos
                                                    Federal Bar No. 3008683
                                                    George A. Gaitas
                                                    Federal Bar No. 705176
                                                    1908 N. Memorial Way
                                                    Houston, Texas 77007
                                                    Telephone: 281-501-1800
                                                    Fax: 832-962-8178
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                                                                  gaitas@gkclaw.com

                                CERTIFICATE OF SERVICE

       I hereby certify that on June 3, 2025 a copy of the foregoing was served on all counsel

and/or parties of record through the Court’s cm/ecf system.

                                            /s/Jonathan M. Chalos
                                            Jonathan M. Chalos




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